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                                                                      FILED
                                                               U.S. DISTRICT COURI
                IN THE UNITED STATES DISTRICT COURT               SAVANNAH OIV.

                                                               20iaJUN26 PM
                FOR THE SOUTHERN DISTRICT OF GEORGIA


                            SAVANNAH DIVISION                CLERK
                                                                         OF GA.


THE UNITED STATES OF AMERICA,


               Plaintiff,

                                             4:17CR263


LEONARD WASHINGTON,


               Defendant,




                               ORDER




     Counsel in the above-captioned case have advised the Court

that all pretrial motions have been complied with and/or that all

matters raised in the parties' motions have been resolved by

agreement. Therefore, a hearing in this case is deemed unnecessary.



     SO ORDERED, this          day of June, 2018.




                                UNITED STATES MAGISTRATE JUDGE
                                SOUTHERN DISTRICT OF GEORGIA
